









Dismissed and Memorandum Opinion filed July 28, 2005









Dismissed and Memorandum Opinion filed July 28, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00625-CV

____________

&nbsp;

ANNE-HELENE
DUBOIS, Appellant

&nbsp;

V.

&nbsp;

STEWART
ZUCKERBROD, M.D., et al., Appellees

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 1

Harris County,
Texas

Trial Court Cause No.
797,512

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed April 8, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 27, 2005, notification was transmitted to all parties
of the court=s intention to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P. 37.3(b).&nbsp; Appellant filed no response.








Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed July 28, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost. 

&nbsp;





